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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” = §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
Doanh Tran, et al. v. § MAG. JUDGE SHUSHAN
BP Exploration & Production, etal §

EDLA No. 10-4228 §

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs ALLISON PHAM, DAVID PHAM, HIEU
PHAM, THOMAS HOANG, LONG PHAM, HANH PHAM, MIA PHAM, and ANDY
TRINH'S Motion for Leave of Court to Voluntarily Dismiss Claims Without Prejudice is
hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs ALLISON PHAM,
DAVID PHAM, HIEU PHAM, THOMAS HOANG, LONG PHAM, HANH PHAM, MIA
PHAM, and ANDY TRINH only, as listed on Exhibit “A” attached to said Motion are
hereby dismissed without prejudice. This Order in no way affects the claims of the
remaining Plaintiffs in this Civil Action,

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
